Case 1:24-cv-20907-JEM Document 21 Entered on FLSD Docket 10/11/2024 Page i1of1

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
Case Number: 24-20907-CIV-MARTINEZ
DOUGLAS LONGHINI,
Plaintiff,
Vv.

ALLIANCE RE HOLDINGS LLC,

Defendant.
/

ORDER OF DISMISSAL WITH PREJUDICE

THIS MATTER is before the Court upon Plaintiff's Notice of Voluntary Dismissal with
Prejudice, (ECF No. 20). It is hereby:

ORDERED and ADJUDGED that this action is DISMISSED with prejudice. This case
is CLOSED, and all pending motions are DENIED as moot. Each party shall bear their own
attorneys’ fees and costs.

DONE AND ORDERED in Chambers at Miami, Florida, this | | day of October, 2024.

QC <4

JOSE E,/MARTINEZ
UNITED STATES DISTRICT JUDGE

Copies provided to:
All Counsel of Record
